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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ROBERT RADEMACHER
Civil Action No. 12-CV-6295
Plaintiff,

THE BRACHFELD LAW GROUP, P.C. AND
LVNV FUNDING, LLC

Defendants.

STIPULATION OF DISCONTINUANCE

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys of record for all parties to the above entitled action, that whereas no party hereto is an
infant, incompetent person for whom a committee has been appointed or conservatee, and no person
not a party has an interest in the subject matter of the action, the above entitled action be, and the

same hereby is discontinued with prejudice.

DATED: May 21, 2013 DATED: May 21, 2013
/s/ Seth J. Andrews, Esq. /s/ David G. Peltan, Esq.
Seth J. Andrews, Esq. David G. Peltan, Esq.
Law Offices of Kenneth Hiller Peltan Law, PLLC.
Attorneys for Plaintiff Attorneys for Defendant
6000 North Bailey Avenue, Suite 1A 128 Church Street
Amherst, New York 14226 East Aurora, New York 14052
Phone: (716) 564-3288 Phone: (716) 374-5431
SO ORDERED

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MICHAFL A. TELESCA
United States District Judge

DATE Pyvfy =

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